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                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF WISCONSIN
                                 MADISON DIVISION



 IN RE:                                             CASE NO. 19-13866

 Bradley D. Dillman                                 CHAPTER 13

                                                    Chief Judge Catherine J. Furay
 Debtor.



MOTION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, AS TRUSTEE OF THE
 RESIDENTIAL CREDIT OPPORTUNITIES TRUST V-C FOR RELIEF FROM THE
AUTOMATIC STAY AND CO-DEBTOR STAY REGARDING PROPERTY LOCATED
            AT 5309 PORTSMOUTH WAY, MADISON, WI 53714


       Wilmington Savings Fund Society FSB, as Trustee of the Residential Credit

Opportunities Trust V-C, the current mortgagee of record, its successors, servicing agents and/or

assignees (hereinafter, collectively and at all times material hereto called, the “Movant”) through

its attorneys, Sottile & Barile, LLC, hereby moves the Court for an order for relief from the

automatic stay and co-debtor stay pursuant to 11 U.S.C. §362, 1301 and alleges as follows:

       1. The Movant holds a promissory note and mortgage encumbering real property owned

           by the Debtor and co-debtor and located at 5309 Portsmouth Way, Madison, WI

           53714. A copy of the note, mortgage and any other pertinent loan documents

           attesting to this is attached hereto and incorporated herein by reference.

       2. Since the commencement of this case, the 2019 property taxes had not been paid by

           the debtor. The default is in the amount of $7,806.90.

       3. The default in tax payments constitutes “cause” for terminating the automatic stay.
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       4. That as of December 23, 2020, the total amount due to the Movant was approximately

             $287,562.31 in addition to any fees and costs for the filing of this motion.

       5. That there is little to no equity in the property over and above the liens of the secured

             creditors, the exemptions claimed by the debtor, unpaid real estate taxes and other

             liens of record. The Debtor’s Schedule A value is $285,100.00. The lack of equity in

             the Property, which is unnecessary for an effective reorganization, entitles the

             Movant to relief from the automatic stay under 11 U.S.C. §362(d)(2).

       6. Movant seeks relief from both the automatic stay and the co-debtor stay as there is a

             non-filing co-debtor on the account, Kathleen A. Dillman.

       7. The failure of the Debtor to make tax payments to the Movant per the terms of the

             note and mortgage has resulted in the loss of adequate protection of the Movant’s

             interest in the Property. This further entitles Movant to relief from the automatic stay.


       WHEREFORE, the Movant requests that the automatic stay and co-debtor stay be

terminated pursuant to 11 U.S.C. §§362(d) and 1301 so that the Movant may protect, exercise

and enforce its rights pursuant to said note and mortgage, that any order entered pursuant to this

Motion be effective immediately upon its entry, waiving the 14-day stay pursuant to Federal

Rule of Bankruptcy Procedure 4001(a)(3) and for such further relief as may be just and

equitable.

       Dated this 8th day of January, 2021.


                                                       SOTTILE & BARILE, LLC
                                                       Attorneys for Movant

                                                         /s/ Jon Lieberman_____
                                                       Jon Lieberman (OH 0058394)
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                                             Sottile and Barile, Attorneys at Law
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                                             Loveland, OH 45140
                                             Phone: (513) 444-4100
                                             bankruptcy@sottileandbarile.com
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                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF WISCONSIN
                                 MADISON DIVISION



 IN RE:                                             CASE NO. 19-13866

 Bradley D. Dillman                                 CHAPTER 13

                                                    Chief Judge Catherine J. Furay
 Debtor.



   NOTICE OF MOTION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, AS
  TRUSTEE OF THE RESIDENTIAL CREDIT OPPORTUNITIES TRUST V-C FOR
  RELIEF FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY REGARDING
    PROPERTY LOCATED AT 5309 PORTSMOUTH WAY, MADISON, WI 53714


       Wilmington Savings Fund Society FSB, as Trustee of the Residential Credit
Opportunities Trust V-C (“Movant”) has filed papers for Relief from the Automatic Stay and Co
Debtor Stay.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult with one.

        If you do not want the Court to grant the relief requested, or if you want the Court to
consider your views on this motion, then within fourteen (14) says of the filing date indicated
on this Notice, you or your attorney must file with the Court a written response explaining your
position and requesting a hearing at

       Office of the Clerk of Court
       Western District of Wisconsin
       120 North Henry Stret
       Madison, WI 53703-2559

       If you mail your response to the court for filing, you must mail it early enough so the
court will RECEIVE it within fourteen (14) days of the date of this notice.

        You must also mail a copy to:
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       Jon Lieberman
       Sottile and Barile, Attorneys at Law
       394 Wards Corner Road, Suite 180
       Loveland, OH 45140
       Counsel for Movant

       Mark Harring
       131 W. Wilson Street, Suite 1000
       Madison, WI 53703-3260
       Chapter 13 Trustee


       If you or your attorney do not take these steps, the Court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief.

       Dated this 8th day of January, 2021.

                                                    SOTTILE & BARILE, LLC
                                                    Attorneys for Movant

                                                      /s/ Jon Lieberman_____
                                                    Jon Lieberman (OH 0058394)
                                                    Sottile and Barile, Attorneys at Law
                                                    394 Wards Corner Road, Suite 180
                                                    Loveland, OH 45140
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                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF WISCONSIN
                                MADISON DIVISION



 IN RE:                                             CASE NO. 17-14240

 Bradley D. Dillman                                 CHAPTER 13

                                                    Chief Judge Catherine J. Furay
 Debtor.



                                CERTIFICATE OF SERVICE



The undersigned certifies that on 1/8/2021, a true and correct copy of the foregoing Notice of
Motion and Motion for Relief from Stay and Co Debtor Stay was served upon the following:



By ECF:

John P. Driscoll
Krekeler Strother, S.C.
2901 West Beltline Highway, Suite 301
Madison, WI 53713
Counsel for the Debtor

Mark Harring
131 W. Wilson Street, Suite 1000
Madison, WI 53703-3260
Chapter 13 Trustee

U.S. Trustee's Office
780 Regent Street, Suite 304
Madison, WI 53715
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By U.S. Mail:

Bradley D. Dillman
5309 Portsmouth Way
Madison, WI 53714

Kathleen A. Dillman (Wopat)
131 W. Richards Rd
Cottage Grove, WI 53527


      Dated this 8th day of January, 2021.

                                               SOTTILE & BARILE, LLC
                                               Attorneys for Movant

                                                 /s/ Jon Lieberman_____
                                               Jon Lieberman (OH 0058394)
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